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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

        INAYAH & DONOVAN CONCIERGE, LLC                           )
                d/b/a I&D Concierge,                              )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 24-cv-2237
                                                                  )
   BILL K. KAPRI, professionally known as KODAK                   )
             BLACK, an individual; and
                                                                  )
           SNIPER GANG TOURING, LLC,
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BILL K KAPRi p/k/a KODAK BLACK; and
                                       SNIPER GANG TOURING, LLC.
                                       1511-1547 Hammondville Road, Pompano Beach, FL (Kapri/Black)

                                       280 NE 175 Terrace, North Miami Beach, FL 33163; Attn: Vanessa Antione (Sniper)

                                       NKSFB, LLC as agent for Sniper Gant Touring, 10960 Wilshire Blvd. 5th fl, Los
                                       Angeles, CA 90024
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Steven M. Kaplan, Esq.
                                       KAPLAN LEVENSON P.C.
                                       930 Sylvan Avenue, Suite 100
                                       Englewood Cliffs, NJ 07632
                                       201.646.9400



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             BRENNA B. MAHONEY
                                                                             CLERK OF COURT


Date:   03/27/2024
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
